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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

In re: Chapter ll
MATTRESS FIRM, INC., et al.,l Case No. 18-12241 (CSS)
Debtors. (Jointly Administered)

Ref. Docket Nos. 11 & 178

 

 

FINAL ORDER (I) AUTHORIZING THE DEBTORS TO PAY ALL TRADE CLAIMS IN
THE ORDINARY COURSE OF BUSINESS, (II) AUTHORIZING APPLICABLE BANKS
AND OTHER FINANCIAL INSTITUTIONS TO HONOR AND PROCESS RELATED
CHECKS AND TRANSFERS. AND (IID GRANTING RELATED RELIEF

Upon the motion (the “MLiml”)2 of Mattress Firm, Inc. and its affiliated debtors and
debtors in possession in the above-captioned chapter ll cases (collectively, the “De_btor_s”) for
entry of an order (this “Final Order”), pursuant to sections 105(a), 362(d), 363(b), and 503(b)(9)
of the Bankruptcy Code and Bankruptcy Rules 6003 and 6004, (i) authorizing, but not requiring,
the Debtors to (a) pay, in full, all allowed prepetition claims for goods or services related to the
Debtors’ operations and other ordinary course claims (collectively, the “Trade Claims”) of
creditors in the ordinary course of business, including, but not limited to, vendors of goods and
services (collectively, the “Trade Creditors”), (ii) authorizing applicable banks and other
financial institutions to honor and process related checks and transfers, and (iii) granting related

relief; and upon consideration of the First Day Declaration; and this Court having jurisdiction

over this matter pursuant to 28 U.S.C. § 1334 and the Amended Stana'ing Order of Reference

 

l The last four digits of Mattress Finn, Inc.’s federal tax identification number are 6008. The Debtors’ mailing
address is 10201 S. Main Street, Houston, Texas 77025. Due to the large number of Debtors in these chapter ll
cases, which are being jointly administered, a complete list of the Debtors and the last four digits of their federal tax
identification numbers is not provided herein. This information may be obtained on the website of` the Debtors’
noticing and claims agent at http://dm.epiql l.com/MattressFirm or by contacting counsel for the Debtors.

2 Capitalized terms used but not otherwise defined herein shall have the meaning given to them in the Motion.

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. from the United States District Court for the District of Delaware, dated February 29, 2012; and
this matter being a core proceeding Within the meaning of 28 U.S.C. § 157(b)(2); and this Court
being able to issue a final order consistent with Article III of the United States Constitution; and
venue of this proceeding and the Motion being proper pursuant to 28 U.S.C. §§ 1408 and 1409;
and appropriate notice of and the opportunity for a hearing on the Motion having been given and
it appearing that no other or further notice need be provided; and this Court having reviewed the
Motion and having heard the statements in support of the relief requested therein at a hearing
before this Court; and all objections, if any, to the Motion having been withdrawn, resolved or
overruled; and the relief requested in the Motion being in the best interests of the Debtors’
estates, their creditors and other parties in interest; and this Court having determined that the
legal and factual bases set forth in the Motion establish just cause for the relief granted herein;
and after due deliberation and sufficient cause appearing therefor, it is HEREBY ORDERED

. THAT:

l. The relief requested in the Motion is GRANTED on a final basis as set forth
herein.

2. The Debtors are authorized, but not directed, to satisfy Trade Claims in the
ordinary course of business, in an amount not to exceed $180,500,000, subject to the following
conditions:

(a) Unless the parties agree to different terms and conditions, if a Trade Creditor
accepts payment under this Final Order, such Trade Creditor shall be deemed to
have agreed to continue to provide goods and/or services to the Debtors, on terms
that are no less favorable to the Debtors than the terms and conditions (including
credit terms) that existed 180 days prior to the Petition Date (prior to any
unilateral acceleration), or on other terms satisfactory to the Debtors in the

reasonable exercise of their business judgment (such terms, the “Customag Trade
Terms”), during the pendency of these chapter ll cases;

 

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. (b) If the relationship between a Trade Creditor accepting payment under this Final
Order and the Debtors does not precede the Petition Date by 180 days,
“Customary Trade Terms” shall mean the terms that the Trade Creditor generally
extends to its customers or such terms as are acceptable to the Debtors in the
reasonable exercise of their business judgment;

(c) If a Trade Creditor, after receiving a payment on account of its Trade Claim,
ceases to provide Customary Trade Terms or otherwise fails to perform under a
contract with a Debtor, the Debtors’ rights shall be reserved, and the Debtors may
seek the approval of this Court on notice to the Trade Creditor to (a) deem such
payment to apply to post-petition amounts payable to such Trade Creditor, if
applicable, or (b) take any and all appropriate steps to cause such Trade Creditor
to repay payments made to it on account of its prepetition Trade Claims to the
extent that such payments exceed the post-petition amounts then owing to such
Trade Creditor; and

 

(d) Prior to making a payment to a Trade Creditor under this Final Order, the Debtors
may, in their discretion, settle all or some of the Trade Claims of such Trade
Creditor for less than their face amount without further notice or hearing.

3. If a Trade Creditor, after receiving payment on account of a Trade Claim, ceases
. to provide Customary Trade Terms or otherwise fails to perform under a contract with a Debtor,
the Debtors, in their sole discretion, may then take any and all appropriate steps to cause such
Trade Creditor to repay payments made to it on account of its prepetition Trade Claim to the

extent that such payments exceed the postpetition amounts then owing to such Trade Creditor.

4. The Banks are authorized, at the Debtors’ request, (i) to receive, process, honor,
and pay all checks presented for payment and electronic payment requests relating to the
foregoing to the extent directed by the Debtors in accordance with the Motion and to the extent
the Debtors have sufficient funds standing to their credit with such Bank, whether such checks
were presented or electronic requests were submitted before or after the Petition Date and (ii)
authorize all Banks to rely on the Debtors’ designation of any particular check or electronic

payment request as appropriate pursuant to this Motion, without any duty of further inquiry, and

without liability for following the Debtors’ instructions

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5. All applicable banks and other financial institutions are hereby authorized to
receive, process, honor and pay any and all checks, drafts, wires, check transfer requests or
automated clearing house transfers evidencing amounts paid by the Debtors under this Final
Order whether presented prior to or after the Petition Date to the extent the Debtors have good
funds standing to their credit with such bank or other financial institution. Such banks and
financial institutions are authorized to rely on the representations of the Debtors as to which
checks are issued or authorized to be paid pursuant to this Final Order without any duty of
further inquiry and without liability for following the Debtors’ instructions The Debtors are
authorized to issue postpetition checks, or to effect postpetition wire transfer requests, in
replacement of any checks or transfers in respect of the payments authorized to be paid pursuant
to this Final Order that are dishonored or rejected.

6. Nothing in this Final Order: (i) is intended or shall be deemed to constitute an
assumption of any agreement pursuant to section 365 of the Bankruptcy Code or an admission as
to the validity of any claim against the Debtors or their estates; (ii) shall impair, prejudice, waive,
or otherwise affect the rights of the Debtors or their estates to contest the validity, priority, or
amount of any claim against the Debtors or their estates; (iii) shall impair, prejudice, waive, or
otherwise affect the rights of the Debtors or their estates with respect to any and all claims or
causes of action against any third party; or (iv) shall be construed as a promise to pay a claim or
continue any applicable program post-petition, which decision shall be in the discretion of the
Debtors. Any payment made pursuant to this Final Order is not intended to be nor should it be
construed as an admission as to the validity of any claim or a waiver of the Debtors’ rights to

subsequently dispute such claim.

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. 7. The contents of the Motion satisfy the requirements of Bankruptcy Rule 6003(b)
because the relief granted in this Final Order is necessary to avoid immediate and irreparable
harm to the Debtors’ estates.

8. Notice of the Motion shall be deemed good and sufficient notice of such Motion,
and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are waived by such notice.

9. Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Final
Order are immediately effective and enforceable upon its entry.

10. The Debtors are authorized to take all actions necessary to effectuate the relief
granted in this Final Order in accordance with the Motion.

11. Notwithstanding anything to the contrary in this Final Order or the Motion, any
payment, obligations, or other relief authorized by this Final Order shall be subject to the terms,

. conditions, and limitations contained in the orders of this Court approving the Debtors’ entry into
and performance under the debtor-in-possession financing documents and cash collateral use,
including any budget in connection therewith.

12. This Court retains exclusive jurisdiction with respect to all matters arising from or
related to the implementation, interpretation and enforceme t of thlls Final Order.

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Dated: Octoberoz , 2018

Wilmingf<)n, Delaware cHRIsToPHER s. soi'IITCHI
CHIEF UNITED sTATEs BANKRUPTCY
JUDGE

 

 

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